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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                    CRIMINAL MINUTES

Case No.  CR 18-345-JFW                                    Dated: July 17, 2018
==========================================================================
PRESENT: HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

       V.R. Vallery                    Miranda Algorri                   Jeff P. Mitchell
     Courtroom Deputy                  Court Reporter                  Asst. U.S. Attorney

                                       Interpreter: None
                                                                         Kelli Sager
                                                                 Non-Party Press Organization


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U.S.A. vs (Dfts listed below)                Attorneys for Defendants

1)    John Saro Balian                                     1)   Craig Missakian
      present in custody                                        retained



______________________________________________________________________________

PROCEEDINGS:       ORDER TO SHOW CAUSE WHY A PRELIMINARY INJUNCTION SHOULD
                   NOT ISSUE

Case called, and counsel make their appearance.

Court and counsel confer.

For the reasons stated on the record, the Court DENIES Defendant’s Motion for Preliminary
Injunction, and the Court VACATES its Order Granting Ex Parte Application and Order to Show
Cause Why a Preliminary Injunction Should Not Issue, filed July 14, 2018, in its entirety.




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